
249 P.3d 157 (2011)
241 Or. App. 349
STATE of Oregon, Plaintiff-Respondent,
v.
Alexis Garrido GUZMAN, Defendant-Appellant.
060444831; A141608.
Court of Appeals of Oregon.
Submitted January 28, 2011.
Decided March 2, 2011.
Peter Gartlan, Chief Defender, and Daniel C. Bennett, Deputy Public Defender, Office of Public Defense Services, filed the briefs for appellant.
John R. Kroger, Attorney General, David B. Thompson, Interim Solicitor General, and Jeff J. Payne, Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and BREWER, Chief Judge, and ARMSTRONG, Judge.
PER CURIAM.
Affirmed. State v. Carter, 238 Or.App. 417, 241 P.3d 1205 (2010).
